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Prob 12C (10/99)


                       UNITED STATES DISTRICT COURT
                                              for the
                                Western District of Oklahoma

        Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Oscar Amos Stilley                            Case Number: CR-22-00357-001-F

Name of Judicial Officer: The Honorable Stephen P. Friot (Jurisdiction was transferred from the
Northern District of Oklahoma to the Western District of Oklahoma on August 24, 2022)

Date of Original Sentence: April 23, 2010

Original Offense: Count 1; Conspiracy to Defraud the United States in violation of 18 U.S.C. §
371; Count Three; Tax Evasion and Aiding and Abetting in violation of 26 U.S.C. § 7201 and 18
U.S.C. § 2; Count Four; Tax Evasion and Aiding and Abetting in violation of 26 U.S.C. § 7201
and 18 U.S.C. § 2.

Original Sentence: 180 months custody, 3 years supervised release

Type of Supervision: Supervised Release         Date Supervision Commenced: August 10, 2022

Previous Court Action:
None

Assistant U.S. Attorney: Matt Dillon                    Defense Counsel: To be assigned


                                  PETITIONING THE COURT

[X]      To issue a summons

The probation officer believes that the offender has violated the following condition(s) of
supervision:

   Violation       Nature of Noncompliance
   Number
                   Violation of Special Condition No. 3: The defendant shall abide by the “Special
        1          Computer Restriction Conditions” previously adopted by the Court, as follows:

                   (1) The defendant shall disclose all email accounts, internet connections and
                   internet connection devices, including screen names and passwords, to the
                   probation officer; and shall immediately advise the probation officer of any
                   changes in his or her email accounts, connections, devices, or passwords;



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                   (2) The probation officer shall have authority to monitor all computer activity,
                   to include all email or internet connections, to include but not limited to
                   installation of remote monitoring software. Unless waived by the probation
                   officer, the cost of the remote monitoring software shall be paid by the
                   defendant;

                   (3) The defendant shall not access any on-line service using an alias, or access
                   any on-line service using the internet account, name, or designation of another
                   person or entity; and report immediately to the probation officer access to any
                   internet site containing prohibited material;

                   (4) The defendant is prohibited from using any form of encryption,
                   cryptography, stenography, compression, password-protected files, or other
                   methods that limit access to, or change the appearance of, data and/or images;

                   (5) The defendant is prohibited from altering or destroying the records of
                   computer use, including the use of software or functions designed to alter, clean
                   or “wipe” computer media, block monitoring software, or restore a computer to
                   a previous state; and

                   (6) If instructed, the defendant shall provide all personal and business telephone
                   records and credit card statements to the probation officer.

                   On August 10, 2022, Oscar Amos Stilley violated this condition of supervised release
                   when he refused to allow the installation of remote monitoring software to occur.


U.S. Probation Officer Recommendation:

[X]      The term of supervision should be revoked.

I declare under penalty of perjury that the foregoing is true and correct.


Executed on August 24, 2022




Jay Mauldin
Supervisory U.S. Probation Officer

Date: August 24, 2022



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THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[X]      The Issuance of a Summons
[ ]      Other




August 24, 2022
Date




                                               3
